865 F.2d 1260Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.UNITED STATES of America, Petitioner-Appellee,v.Steven Thomas CHAPLIN, a/k/a James Andrews, Respondent-Appellant.
    No. 88-7101.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  Nov. 29, 1988.Decided:  Jan. 4, 1989.
    
      William E. Martin, Federal Public Defender;  Edwin C. Walker (Federal Public Defender's Office), for appellant.
      Margaret P. Currin, United States Attorney;  James G. Carpenter (Office of the United States Attorney), for appellee.
      Before JAMES DICKSON PHILLIPS, SPROUSE and ERVIN, Circuit Judges.
      PER CURIAM:
    
    
      1
      Steven Thomas Chaplin, an inmate incarcerated at the Federal Correctional Institution in Butner, North Carolina, appeals the district court's order committing him to the custody of the Attorney General for psychiatric care pursuant to 18 U.S.C. Sec. 4246(d).  Finding no error, we affirm.
    
    
      2
      On February 24, 1988, the warden at Butner filed a motion in the district court to determine whether Chaplin should remain committed.  A hearing to determine Chaplin's mental condition was held on March 30, 1988.  Based on the evidence presented at the hearing, including the testimony and written report of Claudia R. Coleman, Ph.D., and a letter from Bob Rollins, M.D., the district court found that Chaplin was suffering from a mental disease or defect as a result of which his release would create a substantial risk of bodily injury to another person or serious damage to property of another.  The court ordered that Chaplin be committed to the custody of the Attorney General pursuant to 18 U.S.C. Sec. 4246(d).
    
    
      3
      The district court's determination regarding Chaplin's mental health is a finding of fact which must be affirmed unless it is clearly erroneous, United States v. Aponte, 591 F.2d 1247, 1249 (9th Cir.1978);  Butler v. United States, 384 F.2d 522 (8th Cir.1967), cert. denied, 391 U.S. 952 (1968), or as clearly arbitrary or unwarranted, Hall v. United States, 410 F.2d 653, 658 (4th Cir.), cert. denied, 396 U.S. 970 (1969).  The district court's finding is supported by the record and is not erroneous, arbitrary, or unwarranted.  Therefore, we affirm the judgment below.  We dispense with oral argument because the facts and legal contentions are adequately developed in the materials before the court and oral argument would not aid the decisional process.
    
    
      4
      AFFIRMED.
    
    